 

PRISONER’S CIVIL RIGHTS COMPLAINT (Rev. 08/2021) |
i

 

 

IN THE UNITED STATES DISTRICT COURT : cI ree Ta pes jarrow
FOR THE NORTHERN DISTRICT OF TEXAS | 4 i
Py De “maty “ASEM

 

 

Lob? b. Pymlin “0909 aH

Plaintiff's Name and ID Number

Tk UT Count Ty wi 4-229CV-468-0

Place of Confinement
CASE NO.
(Clerk will assign the number)

 

” Bi Le Lu Y fowl

Defendant’s Name E Address"

Teen Zz Coupce Sarl

Defendant’s Name and Address

hhy ADAMS

Defendant’s Name and Address
( DO NOT USE “ET AL.”)

 

INSTRUCTIONS - READ CAREFULLY
NOTICE:
Your complaint is subject to dismissal unless it conforms to these instructions and this form.

1. To start an action you must file an original and one copy of your complaint with the court. You should keep a
copy of the complaint for your own records.

2. Your complaint must be legibly handwritten, in ink, or typewritten. You, the plaintiff, must sign and declare
under penalty of perjury that the facts are correct. If you need additional space, DO NOT USE THE REVERSE
SIDE OR BACK SIDE OF ANY PAGE. ATTACH AN ADDITIONAL BLANK PAGE AND WRITE ON IT.

3. You must file a separate complaint for each claim you have unless the various claims are all related to the same
incident or issue or are all against the same defendant, Rule 18, Federal Rules of Civil Procedure. Make a short and
plain statement of your claim, Rule 8, Federal Rules of Civil Procedure.

4, When these forms are completed, mail the original and one copy to the clerk of the United States district court
for the appropriate district of Texas in the division where one or more named defendants are located, or where the
incident giving rise to your claim for relief occurred. If you are confined in the Texas Department of Criminal
Justice, Correctional Institutions Division (TDCJ-CID), the list labeled as “VENUE LIST” is posted in your unit
law library. It is a list of the Texas prison units indicating the appropriate district court, the division and an address
list of the divisional clerks.
Case 4:22-cv-00468-O Document 1 Filed 05/31/22 Page 2of10 PagelD 2
FILING FEE AND IN FORMA PAUPERIS (FP)

1. In order for your complaint to be filed, it must be accompanied by the statutory filing fee of $350.00 plus an
administrative fee of $52.00 for a total fee of $402.00.

2. Ifyou do not have the necessary funds to pay the fee in full at this time, you may request permission to proceed
in forma pauperis. In this event you must complete the application to proceed in forma pauperis, setting forth
information to establish your inability to prepay the fees and costs or give security therefor. You must also include
a current six-month history of your inmate trust account. If you are an inmate in TDCJ-CID, you can acquire the
application to proceed in forma pauperis and the certificate of inmate trust account, also known as in forma pauperis
data sheet, from the law library at your prison unit.

3. The Prison Litigation Reform Act of 1995 (PLRA) provides “... if a prisoner brings a civil action or files an
appeal in forma pauperis, the prisoner shall be required to pay the full amount of a filing fee.” See 28 U.S.C.

§ 1915. Thus, the court is required to assess and, when funds exist, collect, the entire filing fee or an initial partial
filing fee and monthly installments until the entire amount of the filing fee has been paid by the prisoner. If you
submit the application to proceed in forma pauperis, the court will apply 28 U.S.C. § 1915 and, ifappropriate, assess
and collect the entire filing fee or an initial partial filing fee, then monthly installments from your inmate trust
account, until the entire $350.00 statutory filing fee has been paid. (The $52.00 administrative fee does not apply
to cases proceeding in forma pauperis.)

4. If you intend to seek in forma pauperis status, do not send your complaint without an application to proceed in
forma pauperis and the certificate of inmate trust account. Complete all essential paperwork before submitting it
to the court.

CHANGE OF ADDRESS

It is your responsibility to inform the court of any change of address and its effective date. Such notice should be
marked “NOTICE TO THE COURT OF CHANGE OF ADDRESS” and shall not include any motion for any
other relief. Failure to file a NOTICE TO THE COURT OF CHANGE OF ADDRESS may result in the dismissal
of your complaint pursuant to Rule 41(b), Federal Rules of Civil Procedure.

I. PREVIOUS LAWSUITS: A
A. Have you filed any other lawsuit in state or federal court relating to your imprisonment? =» YES “NO

B. If your answer to “A” is “yes,” describe each lawsuit in the space below. (If there is more than one
lawsuit, describe the additional lawsuits on another piece of paper, giving the same information.)

1. Approximate date of filing lawsuit:

 

2. Parties to previous lawsuit:
Plaintifi(s)
Defendant(s)

Court: (If federal, name the district; if state, name the county.)

 

Cause number:

 

Name of judge to whom case was assigned:

 

Disposition: (Was the case dismissed, appealed, still pending?)

 

aan YF &

Approximate date of disposition:

 
Case 4:22-cv-00468-O Document HED 7 Page 3 of 10 .Pagel /
PLACE OF PRESENT CONFINEMENT: 74 Corn 7S (2)
Lf ipl=£4 Lf il L-«
EXHAUSTION OF GRIEVANCE PROCEDURES:
As NO

Have you exhausted all steps of the institutional grievance procedure?

Attach a copy of your final step of the grievance procedure with the response supplied by the institution.

PARTIES TO THIS SUIT:

A. Name and address of plaintiff: boll, 6. v £. SS Athy LA

LOO Nhe /ALnNae Be:
Fale Wet, Ley As WbLG0>

B. Fullname of each defendant, his official position, his place of employment, and his full mailing address.

Defendant #1: G fh. BP ADEM Sf ft Tal Le JEL tn e
hp EAM County Sell
Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

ASSauHED Me when batt neg phe pas Sarl

Defendant #2:

 

 

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

 

Defendant #3:

 

 

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

 

Defendant #4:

 

 

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you,

 

Defendant #5:

 

 

Briefly describe the act(s) or omission(s) of this defendant which you claimed harmed you.

 
&

~ Case 4:22-cv-00468-O Document 1: Filed 05/31/22 Page 4 of 10° PagelD4

CERTIFICATE OF INMATE TRUST ACCOUNT

I, the undersigned authorized officer of the TRELAK fo Coupe, ¢ aai/
where LOhE. y tev SLIME AW , Inmate DNe a os O , is confined

(name of inmate)
as a prisoner, do hereby certify that:

(1) On this day the prisoner has in his account the sum of $_. (4 Dallpes a Z

(2) During the past six months, the prisoner’s:

Average monthly balance was $ FO, OD

Attached is a certified copy of the prisoner’s trust account statement (or institutional equivalent
py p q

showing transactions for the past six months.

Signed this 2 b day of . Lip 7 , 20 AR

 

 

Authorized Officer

 

Institution of Confinement

Authorization

I, the undersigned inmate, authorize the institution where I am incarcerated to withdraw and forward to the
court any initial partial filing fee or appeal fee and any subsequent installments ordered by a Court under the in
forma pauperis provisions of 28 U.S.C. § 1915.

   
       

ellant

 

Signature of OPT RS be
Inmate ID Mo, OL a
VI.

VIL.

VIL.

Case 4:22-cv-00468-O Document 1 Filed 05/31/22 Page5of10 PagelD5
STATEMENT OF CLAIM:

State here in a short and plain statement the facts of your case, that is, what happened, where did it happen,
when did it happen, and who was involved. Describe how each defendant is involved. You need not give
any legal arguments or cite any cases or statutes. If you intend to allege a number of related claims, number
and set forth each claim in a separate paragraph. Attach extra pages if necessary, but remember the
complaint must be stated briefly and concisely. IF YOU VIOLATE THIS RULE, THE COURT MAY
STRIKE YOUR COMPL

Vibe tue ab Liveks OSs? White Ove on? Blok.
Line pio 2 Molde Cell AMD dihke A Wheelehaio

Ant Shearl § hie 2 HbR Cte Dy LMS Ll

AD Assault Dulliito DY Llp UOWol?

whieh ot ibadalall f dati’ sbi Loa,

gab, 5 Mt pees oAL ity Lice? Lb aps Waly

 

  
  
 

 

 

£O y fie
‘“Z athe Padionl LP Mle bys sip, hl tAe Sx i“
why Leh gle Lhiae Zz LYE LA ESt4 2h in) tA he ABE.

RELIEF:

State briefly exactly what you want the court to do for you. Make no legal arguments. Cite no cases or
statutes,

TO Keun De wih Dvir fol betieg
hy Se DHL Cont? “G/) 7

GENERAL nah, INFORMATION:
A. State, i he, lete form, all names you have ever ysed or been known by including any and all aliases.
Ab SHON

LY ln, nk

B. List all TDCJ-CID stent cation numbers you have ever been assigned and all other state or federal
prison or FBI numbers ever assigned to you.

LLLLOS BD EGYE LE

SANCTIONS
A. Have you been sanctioned by any court as a result of any lawsuit you have filed? YES NO

B. If your answer is “yes,” give the following information for every lawsuit in which sanctions were
imposed. (If more than one, use another piece of paper and answer the same questions.)

. Court that imposed sanctions (if federal, give the district and division):

 

. Case number:

 

 

l
2
3. Approximate date sanctions were imposed:
4, Have the sanctions been lifted or otherwise satisfied? ___YES Lo
C.

Case 4:22-cv-00468-O Document 1 Filed 05/31/22 Page 6of10 PagelD 6

Has any court ever warned or notified you that sanctions could be imposed? YES NO

D. If your answer is “yes,” give the following information for every lawsuit in which a warning was issued.

(if more than one, use another piece of paper and answer the same questions.)

1. Court that issued warning (if federal, give the district and division):

 

2. Case number:

 

3. Approximate date warning was issued:

 

Executed on:

 

DATE

 

(Signature of Plaintiff)

PLAINTIFF’S DECLARATIONS

I.

I declare under penalty of perjury all facts presented in this complaint and attachments thereto are true
and correct.

[ understand, if ] am released or transferred, it is my responsibility to keep the court informed of my
current mailing address and failure to do so may result in the dismissal of this lawsuit.

I understand I must exhaust all available administrative remedies prior to filing this lawsuit. —
Tunderstand lam prohibited from bringing an in forma pauperis lawsuit if Ihave brought three or more
civil actions or appeals (from a judgment in a civil action) in a court of the United States while
incarcerated or detained in any facility, which lawsuits were dismissed on the ground they were
frivolous, malicious, or failed to state a claim upon which relief may be granted, unless I am under
imminent danger of serious physical injury,

Tunderstand even if] am allowed to proceed without prepayment of costs, lam responsible for the entire
filmg fee and costs assessed by the court, which shall be deducted in accordance with the law from my
inmate trust account by my custodian until the filing fee is paid.

Signed this 2 bo day of Lh , 20 Ig

(Day) (month) (year)

 

 

WARNING: Plaintiff is advised any false or deliberately misleading information provided in response te the
above questions may result in the imposition of sanctions. The sanctions the court may impose include, but
are not limited to, monetary sanctions and the dismissal of this action with prejudice.
Case 4:22-cv-00468-O Document1 Filed 05/31/22 Page 7of10 PagelD 7
ole GUN tes,

   

  

TARRANT COUNTY SHERIFF’S OFFICE RESPONSE TO
LEVEL I GRIEVANCE APPEAL

INMATE: Shamlin, Bobby

CID: 0978864 gee

GRIEVANCE NUMBER: G216980

APPEAL DATE: Monday, October 11, 2021
RESPONSE DATE: Wednesday, October 20, 2021
CHAIRMAN: Lieutenant Mike Ford

"APPEAL TYPE: 12. Information Only

RESPONSE: Mr, Shamlin, I have received and reviewed your appeal. An inquiry was conducted into
your allegations and proven them to be false. Video footage reviewed is not consistent with your
allegations. You were escorted to your housing unit in a wheelchair. Iam considering this matter closed.

HL CEE

Lieutenant Mike Ford

 

BOARD MEMBERS DECISION

I, Sergeant Tom Wall, agree that the response is appropriate and in accordance with
State Jail Standards.

Terre pts
Sot. Tom Wale
t, Captain Emily Pedigo, agree that the response is appropriate and in accordance with
tandards.

4 State Jail
Mid Clabes.

Captain Emily Pedigo

CC Inmate File
perth lng,

Case 4:22-cv-00468-O Document¢

   

=

TARE

3?

 

TARRANT COUNTY

‘BILL E. WAYBOURN, SHERIFF

Glen Richardson DETENTION BUREAU
Chief Deputy TARRANT COUNTY CORRECTIONS CENTER
(817) 884-3195 100 NORTH LAMAR STREET |
Fan: (817) 884-3173 . . Fort Worth, Texas 76196 -
To: Bobby Shamlin CID #0978864
wo .
Reference: Final Appeal for A-G216980 (3! " Pith
Date: November 10, 2021

Mr. Shamlin,

I have received your request for a “next level appeal” to your original appeal of grievance G216980. The
original grievance was received on September 23, 2021 and a second level appeal with the same issue on
November 9, 2021. You appealed the first grievance response on October 11, 202] and the response to your
appeal was dated October 20, 2021.

In your original grievance, you alleged that you were assaulted by Tarrant County jailers on July 31, 2021.
You further alleged that officers threw your property away and other personal items were taken from you.

Upon further investigation, on July 31" you received services from Mental Health (MHMR) and were
placed on suicide watch by MHMR staff. You were then taken to the male dress-in room, issued an SPC
uniform, and escorted to your assigned housing unit in a wheelchair at approximately 1820 hours without
incident. On August 28, 2021, you were interviewed by a Grievance Corporal for more information about
your allegations. According to your interview, you alleged this incident occurred in Booking when you had
a suicide attempt. You further alleged that you were assaulted while you were being placed in a restraint
chair.

A review of recorded video footage by the Inmate Grievance Committee did not coincide with your
allegations about what occurred, There was no evidence that indicated you were ever placed in a restraint
chair. .

Based on the information that was provided, there was no evidence that supported your allegations of officer

misconduct. Additionally, you did not specify what property was thrown away or which personal items
were taken from you. My final ruling is not sustained, and the case is closed.

Chief Deputy Glen Richardson

COMMITTED TO THE IMPROVEMENT OF THE QUALITY OF LIFE THROUGH SERVICE TO THE COMMUNITY

 
 

 

CASE Pi ZZCVOOF SSO BOC ett tet B A ROSS EL ORAS ~

U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF TEXAS
instructions to a Prisoner Pre Se Plaintiff
Your suit was filed on and has been assigned case number :

These instructions do not include everything you need to know to pursue your case, but following them may help you avoid common
mistakes that can result in delay or other consequences—including dismissal of your case.

1. Filing Procedures - The Local Civil Rules include the foliowing requirements:

. You must submit a judge’s copy (a paper copy) of any document you file. If you want a file-stamped copy returned to you,
submit the original, the judge's copy, and an extra copy to be returned to you, and provide a self-addressed, postage-paid
envelope, The clerk cannot make an extra copy for you unless you first pay a fee of 50 cents per page.

. You must type or legibly handwrite your documents on one side of numbered pages. Any exhibit or discovery material
attached to the filing must be referred to in the filing. Any exhibit or discovery material not referred to in your filing or
not attached to your filing may be returned to you.

2. Address Change - You must notify the Court if your address changes, or your case may be dismissed. Promptly file a written
change of address notice in your case.

3. Rules to Follow - You must read and follow the Court’s Local Civil Rules and the Federal Rules of Civil Procedure. Because the
presiding judge is authorized to change how certain rules apply, you must read and follow the judge’s orders in your case.

4, Request for Attorney - In a civil case, you generally are not entitled to a court-appointed attorney to represent you without cost to
you. Ifyou request a court-appointed attorney, a judge will decide whether to appoint an attorney depending on the circumstances
of the case, Even if the court decides to appoint an attorney, the attorney cannot be forced to accept the appointment. You may cail
the Lawyer Referral Service of the State Bar of Texas at (800) 252-9690 for assistance in securing the services of a private attorney

to represent you for a fee.

5. Initial Case Review - If the Court grants leave to proceed in forma pauperis, service of process will be withheld pending review of
your complaint, and your complaint may be dismissed pursuant to 28 U.S.C. § 191 Sf{e)(2)}. « .
6. Copies to Defendant - After a defendant has been served your complaint, you must serve a copy of any other document you file

‘upon the defendant’s attorney (or upon the defendant, if the defendant is pro se). You must serve the opposing side by mail or
nother manner authorized by Fap. R. Civ. P. 5 (b)(2). All documents must contain a Certificate of Service reflecting that you

served the opposing side. This is an example of language you may use:

 

. Thereby certify that on (Date) _, I forwarded a copy of the foregoing document to , the attorney for
(Defendant) at the address of .
/Signature/
7. Discovery Materials - Do not fite discovery materials with the clerk. If you file a motion to compel discovery, you may attach only
the portions of discovery that are relevant to your motion,
8. Questions About Your Case - Do not write letters to the judge asking questions about your case - all communication with the

judge should be through filings. Do not write letters to the clerk asking for instructions on how to handle your case, since the clerk
is prohibited from giving legal advice,

Niailing Address:

United States District Court

501 West 10th Street, Room 310
Fort Worth, TX 76102-3673

 
Case 4:22-cv- OA Qr EL Manteca Page 10 oof a8 eo wire

 

[OON. Lapapk St
Fopt worth, reas O42

   

 

 

peruty tLERK

“Upiten Siaies! 3 Doielet Comer
FOL west: loth Steep Rom 3/0

foe wont 7 Hikes He75

7
4

INE tA

 
